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                         EXHIBIT A
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From:           William Evans
To:             Downey, Kevin; Trefz, Katherine; John Cline
Subject:        My interaction with Adam Rosendorff
Date:           Monday, August 8, 2022 11:08:27 PM


Today around 6pm Adam Rosendorff knocked on our door asking to speak to Elizabeth. We
had a brief conversation after asking him to please leave. I have recorded that interaction to
the best of my ability. You are of course welcome to call me any time if you have any specific
questions about the interaction.

Adam Rosendorff showed up at my home around 6:05 pm tonight. He came to the front door
and rang the doorbell. I did not recognize him. He is a big guy and my first thought was he was
lost, he looked disheveled. His shirt was untucked, his hair was messy, his voice slightly
trembled. His phone was open to his camera, but his video was not on. At first I thought he
was trying to record an interaction but then I saw how disheveled he was and it looked like he
had just pressed the camera button on his phone by accident. I don’t believe it was recording
anything and I did not see him taking any pictures.

He said he needs to talk to Elizabeth. I told him that he could not be here and that he needed
to leave. He kept saying he needed to talk to her. I told him he knows Elizabeth can’t talk to
anyone and told him he needs to go. He turned to leave.

He got in his car and started going into the cul-de-sac by our home so I told him he needed to
go the other way.

He said he thought it would be healing for both himself and Elizabeth to talk. He said it has
been 10 years since he talked to her. He said he feels guilty, it seemed like he was hurting. He
said when he was called as a witness he tried to answer the questions honestly but that the
prosecutors tried to make everybody look bad (in the company). He said that the government
made things sound worse than they were when he was up on the stand during his testimony.
He said he felt like he had done something wrong. And that this was weighing on him, He said
he was having trouble sleeping. He felt desperate to talk to Elizabeth.

He said he wants to help her. He said he is hurting. He said Theranos was early in his and her
career, that he had just finished residency, and that everyone was working so hard to do
something good and meaningful. He said that everyone was just doing the best they could. He
talked about being with Elizabeth and talking with her at her thirtieth birthday party and about
company holiday parties, including the Halloween party. He talked about how they were
friends. He said Elizabeth was kind to him. He said that everyone has made so much money off
of her and this story they created but that she didn’t make any money. and neither did he or
anyone who worked at the business, but that everyone else has off of the story of it. I
remarked that it is easier to break things than to build them. He said that breaking things is
the nature of America. He said that is what they did to Michael Jackson. They build things up
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only to tear them down.

He asked how I was and how our child is (referred to as she). I said we are blessed to have a
happy and healthy son who just turned 1 year old. He said he has a five year old and he asked
about W . He said he would be in San Diego next week for a conference and was going to
stay at one of the hotels my family owns. The hotel was the Hotel Del Coronado and I told him
that we do not own that hotel and that we are just a small family business.

It appears he does not live here but has been thinking about this for a long time and wants to
find Elizabeth. (The car seemed like a rental.) I told him I am sorry that he is hurting and having
such a hard time. I told him that truth will prevail. I wished him good luck and said goodbye,
he said the same.


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William B. Evans

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